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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CYNTHIA WARMBIER, individually and )
as personal representative of the Estate of )
Otto Warmbier,                               )
                                             )
FREDERICK WARMBIER, individually )
                                             )
and as personal representative of the Estate
                                             )
of Otto Warmbier,                            )
                                             )
      Plaintiffs,                            )
                                             )
v.                                                              1:18-cv-00977
                                             ) Civil Case No. __________________
                                             )
DEMOCRATIC PEOPLE’S REPUBLIC )
OF KOREA,                                    )
                                             )
      Defendant.                             )



                                    OFFER TO ARBITRATE

       Pursuant to the provisions of 28 U.S.C. § 1605A(a)(2)(A)(iii), Plaintiffs named herein

offer to submit the above-captioned matter to arbitration in accordance with accepted

international rules of arbitration. Defendant the Democratic People’s Republic of Korea may

accept this offer to arbitrate within sixty (60) days of receipt of this offer by filing with the Clerk

of this Court an acceptance in lieu of filing an answer or other responsive pleading to this

lawsuit.




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Dated: April 26, 2018               Respectfully submitted,


                                    MCGUIREWOODS LLP

                                    /s/Benjamin L. Hatch
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                                    Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that a translated copy of the foregoing will be mailed to Defendant

through its head of the ministry of foreign affairs and included in the package delivered to

Defendant with the Complaint in this action.



                                                             /s/ Benjamin L. Hatch
                                                             Benjamin L. Hatch




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